     Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 1 of 7



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 IN RE:

 APPLICATION OF PATOKH CHODIEV AND                      Case No. 1:18-mc-13-EGS-RMM
 INTERNATIONAL MINERAL RESOURCES B.V.
 FOR AN ORDER TO TAKE DISCOVERY
 PURSUANT TO 28 U.S.C. § 1782


     CABLE NEWS NETWORK, INC.’S MOTION TO INTERVENE AND UNSEAL

       Pursuant to Rule 24(b) of the Federal Rules of Civil Procedure and Local Civil Rule 7(j),

Cable News Network, Inc. (“CNN”), by and through its undersigned counsel, hereby moves to

intervene in this matter for the limited purpose of seeking access, under the First Amendment

and common law, to certain judicial records that have been filed under seal or otherwise not been

made available on the public docket (the “Sealed Records”). In support of this motion, CNN

relies on the accompanying Memorandum of Points and Authorities. As demonstrated in that

Memorandum, CNN’s limited intervention in this matter is proper, and the Court should release

the Sealed Records under both the First Amendment and common law rights of access.


     Dated: January 23, 2019              Respectfully submitted,

                                          BALLARD SPAHR LLP

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       Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 2 of 7



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 IN RE:

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          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
       CABLE NEWS NETWORK, INC.’S MOTION TO INTERVENE AND UNSEAL

        Pursuant to Rule 24(b) of the Federal Rules of Civil Procedure and Local Civil Rule 7(j),

Cable News Network, Inc. (“CNN”) moves to intervene in this matter for the limited purpose of

seeking access to certain judicial records that have been filed under seal or otherwise not been

made available on the public docket. CNN specifically seeks access to the following documents:

       A January 24, 2018 ex parte motion under 28 U.S.C. § 1782 for an order permitting
        Patokh Chodiev and International Mineral Resources B.V. (the “Applicants”) to issue
        subpoenas for depositions of and documents from Joseph Szlavik and Rinat Akhmetshin
        (Dkt. 1);

       The Court’s February 5, 2018 Order (Dkt. 4) granting that motion;

       Akhmetshin’s May 7, 2018 Sealed Motion for Leave to File Document Under Seal
        (Dkt. 6) and accompanying Exhibit (Dkt. 6-1), Memorandum in Support (Dkt. 6-2),
        Appendix (Dkt. 6-3), Declaration (Dkt. 6-4), and Proposed Orders (Dkt. 6-5 & 6-6);

       Applicants’ May 29, 2018 Sealed Motion for Leave to File Document Under Seal
        (Dkt. 8) and accompanying Sealed Opposition (Dkt. 8-1), Certificate of Service
        (Dkt. 8-2), Exhibits 1 & 2 (Dkt. 8-3 & 8-4), Declaration (Dkt. 8-5), Exhibits A-C
        to that Declaration (Dkt. 8-6, 8-7, & 8-8), and Proposed Order (Dkt. 8-9);

       Akhmetshin’s June 15, 2018 Sealed Motion for Leave to File Document Under Seal
        (Dkt. 14) and accompanying Reply Brief (Dkt. 14-1) and Proposed Order (Dkt. 14-2);

       Akhmetshin’s July 25, 2018 Sealed Motion (Dkt. 21) and accompanying Proposed Order
        (Dkt. 21-1);

       Applicants’ July 25, 2018 Sealed Opposition (Dkt. 22) to that Sealed Motion; and
          Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 3 of 7




          Akhmetshin’s July 25, 2018 Sealed Reply (Dkt. 23).

           These filings (together, the “Sealed Records”) are all subject to the First Amendment and

common law rights of access, and neither the parties nor the Court have offered any explanation

on the record as to why they are not currently available to the public. The Court should therefore

permit CNN to intervene here and grant CNN’s motion for access to the Sealed Records.

I.         CNN SHOULD BE PERMITTED TO INTERVENE IN THIS MATTER

           This Court “may permit anyone to intervene who . . . has a claim or defense that shares

with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b). The D.C. Circuit

has held that third parties, including news organizations, “may be allowed to permissively

intervene under Rule 24(b) for the limited purpose of seeking access to materials that have been

shielded from public view either by seal or by a protective order.” EEOC v. Nat’l Children’s

Ctr., Inc., 146 F.3d 1042, 1046 (D.C. Cir. 1998). Indeed, the Supreme Court has held that

“representatives of the press and general public must be given an opportunity to be heard on the

question of their exclusion” from judicial proceedings. Globe Newspapers Co. v. Super. Ct., 457

U.S. 596, 609 n.25 (1982) (internal marks and citations omitted). The Court therefore should

permit CNN to intervene in this matter for the limited purpose of seeking access to the Sealed

Records.

II.        THE COURT SHOULD GRANT CNN ACCESS TO THE SEALED RECORDS

           The First Amendment and common law rights of access to judicial records are “a

fundamental element of the rule of law, important to maintaining the integrity and legitimacy of

an independent Judicial Branch.” Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661,

663 (D.C. Cir. 2017). The Court should release the Sealed Records under both the First

Amendment and the common law.


                                                   3
      Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 4 of 7



A.     The Court Should Release The Records Under The Constitutional Right of Access

       “The Supreme Court has sketched a two-stage process for resolving whether the First

Amendment affords the public access to a particular judicial record or proceeding.” Dhiab v.

Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring). “First the court must

determine whether a qualified First Amendment right of public access exists. If so, then . . . the

record or proceeding may be closed only if closure is essential to preserve higher values and is

narrowly tailored to serve that interest.” Id. (internal marks and citations omitted).1

       Courts follow the “experience and logic” test to determine where the constitutional right

of access right to records or a proceeding. Press-Enter. Co. v. Super. Ct., 478 U.S. 1, 9 (1986).

Under this test, the right of access attaches if “the place and process have historically been open

to the press and general public” and if access “plays a significant positive role in the function of

the particular process.” Id. at 8. Applying this test, the constitutional right of access right

plainly attaches to the February 5, 2018 Order. See EEOC v. Nat’l Children’s Ctr., Inc., 98 F.3d

1406, 1409 (D.C. Cir. 1996) (“A court’s decrees, its judgments, its orders, are the quintessential

business of the public’s institutions.”). Likewise, “precedent strongly favors [the] view” that the

constitutional access right applies “to non-dispositive civil motions,” including the other Sealed

Records. Minter v. Wells Fargo Bank, N.A., 258 F.R.D. 118, 121 (D. Md. 2009).

       Because this constitutional right of access applies to the Sealed Records, the Court should

release them unless secrecy “is essential to preserve higher values and is narrowly tailored to




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         Though the D.C. Circuit has “never found a qualified First Amendment right outside the
criminal context,” the court has “never categorically ruled it out either,” and “many other circuits
have concluded that such a right exists in civil and even administrative matters.” Dhiab, 852
F.3d at 1104 (Williams, J., concurring); see also In re Guantanamo Bay Detainee Litig., 624 F.
Supp. 2d 27, 36 (D.D.C. 2009) (“[t]he consensus of the Circuits is that there has been a history of
public access to civil proceedings”).
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      Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 5 of 7



serve that interest.” Dhiab, 852 F.3d at 1102 (Williams, J., concurring). Neither the parties nor

the Court have articulated on the public record how the withholding of the Sealed Records is

essential to preserve any higher values. Nor are there any public findings that targeted redactions

would not sufficiently protect any such interest. See In re New York Times Co., 585 F. Supp. 2d

83, 91 (D.D.C. 2008) (because restrictions on First Amendment right of access must be narrowly

tailored, courts must ask whether “the goal of protecting [higher values] can be accomplished by

means less restrictive than prohibiting access . . . altogether”).

       Because the First Amendment right of access applies to the Sealed Records, and there are

no findings on the public record demonstrating that blanket withholding is essential to preserving

any higher values, the Court should grant CNN access to the Sealed Records.

B.     The Court Should Release The Records Under The Common Law Right Of Access

       The Sealed Records should also be released pursuant to the common law right of access.

“Although [this] right is not absolute, there is a strong presumption in its favor, which courts

must weigh against any competing interests.” Metlife, 865 F.3d at 663. Like the constitutional

right of access, the common law right requires courts to conduct a two-stage analysis. First,

courts determine whether the records at issue are “judicial records” to which there is a “strong

presumption” in favor of access. Id. at 665-67. If they are judicial records, courts then apply the

six-factor test set out in United States v. Hubbard to determine whether the presumption of

access has been rebutted. 650 F.2d 293, 317-21 (D.C. Cir. 1980).

       Under controlling case law, the Sealed Records are “judicial records” to which the public

has a presumptive right of access under the common law. In Metlife, the D.C. Circuit recently

explained that documents filed with the court are judicial records, even when they are filed under

seal, so long as they “were filed before the . . . court’s decision and were intended to influence



                                                   5
     Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 6 of 7



it.” Id. at 668. Here, the initial ex parte motion was filed before the Court’s February 5, 2018

Order. From the sequence on the docket it appears that the Court, influenced by that sealed ex

parte motion, decided the motion in the February 5, 2018 Order. That ex parte motion is

therefore a “judicial record,” and the “strong presumption” of public access applies.

       The other Sealed Records – two motions, two oppositions, two replies, and all their

accompanying papers – likewise appear from the docket intended to influence the Court in

reaching a decision. The Sealed Records also are therefore “judicial records,” and the same

“strong presumption” of public access applies.

       Because the public has a presumptive right of access to the Sealed Records under the

common law, the Court should release them unless the party seeking the sealing rebuts the strong

presumption under Hubbard and Metlife. Again, neither the parties nor the Court have

articulated on the record how these factors could outweigh the “strong presumption” of access to

the Sealed Records, or how targeted redactions would not effectively prevent any privacy harms

and protect against any risk of prejudice from disclosure. The Court should therefore grant CNN

access to the Sealed Records pursuant to the common law as well.

                                         CONCLUSION

       For the foregoing reasons, CNN respectfully requests that the Court grant its motion to

intervene and order that all the Sealed Records be unsealed and placed on the public docket.


      Dated: January 23, 2019              Respectfully submitted,

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Case 1:18-mc-00013-EGS-RMM Document 36 Filed 01/23/19 Page 7 of 7



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                                7
